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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TEXAS
SAN ANTONIO DIVISION

La Union Del Pueblo Entero, ef a/.,
Plaintiffs
Vv. No. 5:21-cv-00844-XR

Gregory W. Abbott, et. a/.,

Defendant.

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INTERVENOR-DEFENDANTS’ NOTICE OF APPEAL

PLEASE TAKE NOTICE that Intervenor-Defendants Harris County Republican Party,
Dallas County Republican Party, Republican National Committee, National Republican Senatorial
Committee, and National Republican Congressional Committee hereby appeal to the United States
Court of Appeals for the Fifth Circuit from the Court’s September 28, 2024 Order. See ECF No.

1157. That order is immediately appealable. See 28 U.S.C. § 1292(a)(1).
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Dated: October 1, 2024

Respectfully submitted,

/s/ John M. Gore

John M. Gore

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CERTIFICATE OF SERVICE
I hereby certify that on October 1, 2024, I electronically filed the foregoing with the Clerk
of Court using the CM/ECF system, which will send notification of this filing to all counsel of

record.

/s/ John M. Gore

